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1             LAW OFFICES OF
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       SACRAMENTO, CA 95835
3                 State Bar #063214


4
     ATTORNEYS FOR:             Defendant
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6

7                                      IN THE UNITED STATES DISTRICT COURT
8                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA                          No.   2:10 Cr. 305 MCE
11                                       Plaintiff,     STIPULATION AND [PROPOSED]
12                                                      ORDER FOR CONTINUANCE OF
             v.                                         STATUS CONFERENCE
13
      SARA SHIRAZI, Et. Al.                             DATE: FEBRUARY 5, 2015
14                       Defendants,                    TIME: 9:00 AM
15

16            It is hereby stipulated and agreed by and between the United States of America, on
17   the one hand, and defendant Sara Shirazi, on the other hand, through their respective
18   attorneys, that the status conference in the above-entitled matter set for Thursday,

19   February 5, 2015 shall be continued to Thursday, February 12, 2015 at 9:00 a.m.
             At the request of Dr. Michael Kasman, M.D., Ms. Shirazi had undergone an
20
     opthamologic examination which shows that she has a 50% loss of right pheripheral vision
21
     in both her left and right eyes, she has undergone neuropsychological testing of her
22   memory, attention and concentration as well as testing to determine her visual-perceptual-
23   motor processes, mental attention, control and tracking, immediate and delayed memory,
24   intelligence and cognition and executive functioning. Dr. Kasman has both reports and will

25   provide the Court with a Supplemental Report concerning their significance.
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     ///
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     ///
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              1            Because of the scheduling of these tests during the Holiday Season, they have
              2   taken more time to schedule that anticipated, and Ms. Shirazi’s counsel will provide the

              3   government with copies of the tests and reports by February 4, 2015 and will request an
                  order from the Court sealing those documents on the same date and file them upon receipt
              4
                  of the Court’s order.
              5
                            The matter is already set for Trial on April 6, 2015, so no further findings
              6   concerning the Speedy Trial Act are required.
              7

              8

              9   Dated: January 30, 2015
                                                                     BENJAMIN B. WAGNER
            10                                                       UNITED STATES ATTORNEY

            11                                                       By:/s/ Christopher H. Wing
                                                                     For: Philip Ferrari
            12
                                                                     Assistant U. S. Attorney
            13                                                       (per authorization)

            14    Dated: January 30, 2015                            /s/Christopher H. Wing
                                                                     CHRISTOPHER H. WING
            15                                                       Attorney for Defendant SARA SHIRAZI
            16

            17
                                                               ORDER
            18
                            The Court, having received, read and considered the stipulation of the parties, and
            19
                  good cause appearing therein, adopts the stipulation of the parties in its entirety as its
            20
                  order.
            21              It is further ordered that the status conference in the above-entitled matter set
            22    for February 5, 2015 shall be continued to February 12, 2015 at 9:00 am.
            23

            24    DATED: February 3, 2015

            25
                                                            _____________________________________________
            26                                              MORRISON  N C. ENGLLAND, JR, C
                                                                                         CHIEF JUDG  GE
                                                            UNITED ST TATES DISSTRICT COU  URT
            27

            28
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.
                                                                    2
